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                               UNITED STATES DISTRICT COURT
                                MIDDLE DISTRICT OF FLORIDA
                                      TAMPA DIVISION

    UMG RECORDINGS, INC., et al.,

            Plaintiffs,

    v.                                                     Case No. 8:19-cv-00710-MSS-TGW

    BRIGHT HOUSE NETWORKS, LLC,

            Defendant.

         MOTION TO FILE UNDER SEAL PURSUANT TO STIPULATED PROTECTIVE
                                    ORDER

            Defendant Bright House Networks, LLC (“BHN”), by counsel and pursuant to Rule

    5.2(d) of the Federal Rules of Civil Procedure and Rule 1.09(b) of the Rules of the District

    Court of the United States for the Middle District of Florida (“Local Rules”), moves to file

    under seal (i) unredacted portions of the memorandum in support of the Motion to Compel

    that reference documents produced by Plaintiffs in Warner Bros. Records Inc. v. Charter

    Commc’ns, Inc., Case No. 19-cv-00874-RBJ-MEH (D. Colo.), and which are at issue in this

    case (designated Highly Confidential under the protective order in that case) and (ii) Exhibit

    19 to the Declaration of Erin Ranahan in support of BHN’s Motion to Compel, Bates No.

    MM000023 (designated Confidential by third party MarkMonitor under the Protective Order

    in this case), and as grounds therefore states:

            1.      In order to adequately support its Motion to Compel (ECF 159), BHN must

    reference certain documents and information deemed confidential by Plaintiffs and third-

    parties. To protect the confidential nature of the documents and information, BHN seeks to

    file them under seal.




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            2.      Federal Rule of Civil Procedure 5.2(d) allows a court to order a filing be made

    under seal without redaction.

            3.      Furthermore, Local Rule 1.09(b) states in relevant part: “If filing under seal is

    authorized by . . . [court] order . . . a party seeking to file under seal any paper or other matter

    in any civil case shall file and serve a motion . . . which includes”:

            (i)     a citation to the statute, rule, or order authorizing the seal;

            (ii)    an identification and description of each item submitted for sealing;

            (iii)   a statement of the proposed duration of the seal; and

            (iv)    a statement establishing that the items submitted for sealing are within the

                    identified statute, rule, or order the movant cites as authorizing the seal.

            4.      On September 5, 2019, upon joint motion by the parties, this Court entered the

    Stipulated Protective Order, which protects the parties’ respective interests with regard to

    discovery that may arise in this action of documents and information deemed by the parties

    to be confidential, sensitive, or proprietary in nature.           See generally (ECF 58).          The

    Stipulated Protective Order permits certain Protected Information 1 to be filed under seal upon

    motion made pursuant to Local Rule 1.09 and a showing of particularized need. Id. at ¶15.

            5.      Pursuant to the Stipulated Protective Order, BHN requests to file under seal (i)

    unredacted portions of the memorandum in support of the Motion to Compel that reference

    documents produced by Plaintiffs in Warner Bros. Records Inc. v. Charter Commc’ns, Inc.,

    Case No. 19-cv-00874-RBJ-MEH (D. Colo.), and which are at issue in this case (designated

    1
       ‘“Protected Information’ means any information of any type, kind, or character that is designated as
    “CONFIDENTIAL” or “HIGHLY CONFIDENTIAL” by any of the producing or receiving persons, whether it
    be a document, information contained in a document, information revealed during a deposition, information
    revealed in an interrogatory answer, or otherwise.” (ECF 58 at ¶1).




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    Highly Confidential under the Protective Order in that case) and (ii) Exhibit 19 to BHN’s

    Motion to Compel, Bates No. MM000023 (designated Confidential by third party

    MarkMonitor under the Protective Order in this case).

           6.     BHN takes no position on whether the contents of these documents are

    confidential but files this motion pursuant to the Protective Order because Plaintiffs and

    third-party MarkMonitor have designated the documents as either Highly Confidential –

    Attorneys’ Eyes Only or Confidential.

           7.     Should the Court agree that the Protective Order warrants granting of this

    Motion, BHN requests that (i) unredacted portions of the memorandum in support of the

    Motion to Compel and (ii) Exhibit 19 to the Declaration of Erin Ranahan in support of

    BHN’s Motion to Compel, Bates No. MM000023 remain under seal until August 17, 2021,

    subject to BHN’s right to move to renew the seal pursuant to Local Rule 1.09(c).

           WHEREFORE, BHN respectfully requests that the Court enter an order permitting it

    to file (i) redacted portions of the memorandum in support of the Motion to Compel and (ii)

    Exhibit 19 to the Declaration of Erin Ranahan in support of BHN’s Motion to Compel, Bates

    No. MM000023 under seal until August 17, 2021, and grant such other and further relief as

    the Court deems just and proper.


    Dated: August 17, 2020                           Respectfully submitted,

                                                     s/ Erin R. Ranahan
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                                 CERTIFICATE OF SERVICE

           I certify that on August 17, 2020, a true and correct copy of the foregoing was filed

    with the Court via CM/ECF which will send a notice of electronic filing to the parties of

    record. Non-party MarkMonitor was served via e-mail at acastricone@grsm.com.

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